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                                                                                         DATE FlUJL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
KRISS et ai,                                                                             10 CIY 3959      (fire)
                                            Plaintitfs,
                                                                                        ORDER ENLARGING TIME TO
                                                                                        SERVE
                                -against­
                                                                                        FRCP4,6
BA YROCK GROUP et aI,

                                            Defendants
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                                                          ORDER

         It is ordered, good cause having been shown, that Plaintiffs' time to serve the complaint shall be
further enlarged to extend through and inclusive of August 31,2012.



                                                                           By:      PJA.(~
                                                                                  Paul Engelmayer                         t" 1<:/'"1­
                                                                                  United States District Judge
